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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 STATE OF NEW YORK ex rel. TZAC, INC.

                            Plaintiff-Relator,
                                                             No. 1:20-cv-2955-GHW
        v.
                                                             ORAL ARGUMENT REQUESTED
 NEW ISRAEL FUND,

                            Defendant.




                                  NEW ISRAEL FUND’S
                             NOTICE OF MOTION TO DISMISS
                              THE AMENDED COMPLAINT

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of New Israel Fund’s Motion to Dismiss the Amended Complaint, Defendant New Israel Fund, by

and through its attorneys, will move this Court before the Honorable Gregory H. Woods, United

States District Judge for the Southern District of New York, Daniel Patrick Moynihan U.S.

Courthouse, 500 Pearl St., New York, New York 10007, on such date as the Court will determine,

for an order pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, dismissing with

prejudice all claims against New Israel Fund in the Amended Complaint (Doc. 30) in the above-

captioned action and granting such other relief as the Court deems just and proper.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the August 11, 2020 Order of this

Court, opposing papers, if any, are due no later than September 15, 2020 and reply papers, if any,

are due no later than seven days after service of the latest-filed opposing papers.




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Dated: August 25, 2020

       Respectfully submitted.
       /s/ Jeffrey S. Bucholtz
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